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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                  No. 4:04CR00291-01 JLH

BOBBY GLENN BANKS                                                                    DEFENDANT

                                    OPINION AND ORDER

       Bobby Banks was convicted of conspiring to distribute more than 5 kilograms of cocaine and

50 grams of cocaine base in violation of 21 U.S.C. § 846, using a communications facility in

committing a federal offense in violation of 21 U.S.C. § 843(b), aiding and abetting the distribution

of cocaine base in violation of 21 U.S.C. § 841(a) and 18 U.S.C. § 2, distribution of cocaine base

in violation of 21 U.S.C. § 841(a), and endeavoring to intimidate an officer of the United States in

violation of 18 U.S.C. § 1503(a). He was sentenced to 55 years imprisonment. His conviction and

his sentence were affirmed on appeal. United States v. Banks, 494 F.3d 681 (8th Cir. 2007).

       Banks has now filed a petition requesting that this Court reduce his sentence pursuant to

18 U.S.C. § 3582(c)(2) and U.S.S.G. § 1B1.10(c). After Banks was sentenced, the United States

Sentencing Commission revised the drug quantity table at U.S.S.G. § 2D1.1(c) and reduced by two

levels the base offense level applicable to most crack cocaine offenses. The Sentencing Commission

also made this reduction apply retroactively to incarcerated inmates.1

       Not every person sentenced for a crack cocaine offense is eligible for a sentence reduction.2



       1
        See United States Sentencing Commission Sentencing Guidelines, Amendment 706
(reducing the guideline range for crack cocaine offenses, effective November 1, 2007) and
Amendment 711 (making amendment 706 retroactive, effective March 3, 2008).
       2
        See, generally, U.S.S.G. § 1B1.10, Reduction in Term of Imprisonment as a Result of
Intended Guideline Range (Policy Statement) (March 3, 2008).
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Only those persons currently serving a sentence determined or effected by a sentencing range

calculated using the drug quantity table, U.S.S.G. § 2D1.1, are potentially eligible. Even then, there

are some defendants for whom the recalculated guideline range, using amended § 2D1.1, will be

equal to the original guideline range. In such cases, the defendant’s guideline range is not lowered

as a result of the retroactive amendment, and there is no basis for the court to consider whether to

exercise its discretion to grant a sentence reduction. U.S.S.G. § 1B1.10(a)(1).

        The presentence report shows that Banks had an offense level of 46 and a criminal history

category of III. The sentencing table provides offense levels only through 43. The application notes

to the sentencing table state that an offense level of more than 43 is to be treated as an offense level

of 43. The sentencing table recommends a sentence of life imprisonment for an offense level of 43.

Assuming, arguendo, that the sentencing guideline range for Banks would be reduced by two levels

pursuant to Amendment 706 and Amendment 711, his offense level then would be 44, rather than

46. Because that level still would exceed 43, and because an offense level of more than 43 is to be

treated as an offense level of 43, he would still have a guideline sentencing level of 43, which would

mean that the guidelines still would recommend a sentence of life imprisonment.

        Because the reduction of the reduced crack cocaine sentencing guideline range would not

reduce Banks’s sentence, he is not entitled to relief. United States v. Tolliver, 570 F.3d 1062, 1066-

67 (8th Cir. 2009). Even assuming Banks was given the maximum benefit of a two point reduction

to his offense level, his offense level still would be 44, and the recommended guideline sentence

would be the same—life imprisonment.

        The reduction in the sentencing guideline range for crack cocaine cases has no effect on the

guideline range for Banks’s sentence, so his motion is denied. Document #809.


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IT IS SO ORDERED this 21st day of September, 2009.




                                        J. LEON HOLMES
                                        UNITED STATES DISTRICT JUDGE




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